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                 UNITED STATES COURT OF APPEALS
                      FOR THE SIXTH CIRCUIT
                    CASE NO. 23-5795 and 23-6108


HONORABLE ORDER OF KENTUCKY COLONELS, INC.

                     Plaintiff-Appellee
v.

KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
FOUNDATION, INC.; UNKNOWN DEFENDANTS

                     Defendants

DAVID J. WRIGHT

                     Defendant-Appellant


       APPELLEE’S RESPONSE TO APPELLANT’S MOTION
        FOR LEAVE TO SUPPLEMENT RECORD [DOC. 37]

      For the third time, Defendant/Appellant, David J. Wright (“Wright”),

seeks to confuse the Court by moving to supplement the record on appeal

through “judicial recognition” of matters he incorrectly characterizes as

“facts.” This tactic was rejected by the District Court – twice. Specifically,

the District Court found:

      The information Wright asks the Court to take judicial notice of
      is not indisputable fact. The information is not readily
      determined from sources whose accuracy cannot reasonably be
      questioned. The information is thus inappropriate for the Court
      to take judicial notice of. Furthermore, the purported ‘facts’ are
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      irrelevant to the Court’s resolution of the matters before it. As a
      result, this motion is also denied.

[8/9/23 Memorandum Opinion and Order [DE 129], PageID #3724-3725].1

Ignoring the District Court’s multiple rulings, Wright has simply filed the

same unintelligible morass of irrelevant material that was rejected by the

District Court directly in this appeal. Incredibly, Wright even requests leave

to tender even more extraneous material in the future. Wright’s efforts to

distort the issues and distract from his blatant contempt of the District Court’s

orders must be rejected. Plaintiff/Appellee, the Honorable Order of Kentucky

Colonels (“HOKC”), respectfully requests the Court deny Appellant’s Motion

for Leave [Doc. 37] (the “Motion”) and strike the filing from the Court record.

                                ARGUMENT2
      I.     THERE IS NO LEGAL OR FACTUAL BASIS FOR
             GRANTING THE MOTION.

      Federal courts of appeal review district court orders and judgments on

the basis of a closed record, which is limited to materials in the record when


1
 Wright’s second motion for judicial notice was denied by Order dated April
15, 2025 [DE 183].
2
 HOKC incorporates herein by reference the factual background, supporting
documents, affidavits, and other record proof tendered with its Verified
Complaint [DE 97]; the Motion for Temporary Restraining Order and
Preliminary Injunction [DE 99] (converted by the Court to a motion to show
cause); Plaintiff’s Proposed Findings of Fact and Conclusions of Law [DE
126]; and the 8/9/23 Memorandum Opinion and Order [DE 120].


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the district court made the decision under review. Fassett v. Delta Kappa

Epsilon, 807 F.2d 1150, 1165 (3d Cir. 1986). Rule 10 of the Federal Rules of

Appellate Procedure defines the “record on appeal” as the original papers and

exhibits filed in the district court; the transcript of proceedings, if any; and a

certified copy of the docket entries prepared by the district court.

Consequently, “papers not filed with the district court or admitted into

evidence by that court are not part of the record on appeal.” Barcamerica Intl.

U.S.A. Trust v. Tyfield Imps., Inc., 289 F.3d 589, 593-94 (9th Cir. 2002). This

limitation is “fundamental” because appellate courts “lack the means to

authenticate documents” and must rely on the district courts designation of

submitted documents as part of the record. Lowry v. Barnhart, 329 F.3d 1019,

1024 (9th Cir. 2003). Litigants who disregard this process “impair [the

courts’] ability to perform [their] appellate function.” Id.

      Wright claims that the Court should permit the requested

supplementation because “[a]llowing [Wright] to present additional filings on

leave will ensure the Sixth Circuit has a complete record of unresolved

constitutional and factual issues” as contemplated by FRAP 10 and FRE

201(b). [Motion, 5-6]. But FRAP 10 and FRE 201 only apply in very specific

and narrow circumstances which do not exist here. And neither rule allows

supplementing the appellate record to introduce new evidence. Inland Bulk


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Transfer Co. v. Cummins Engine Co., 332 F.3d 1007, 1012 (6th Cir. 2003)

(characterizing an attempt “to add new material that was never considered by

the district court” as “not permitted under the rule”); see also U.S. v. Page,

661 F.2d 1080, 1082 (5th Cir. 1981) (explaining that “[n]ew proceedings of a

substantive nature, designed to supply what might have been done but was

not, are beyond the reach of [Rule 10]”).

      FRAP 10 allows the Court to correct inadvertent omissions from the

record. Courts of appeal are willing to supplement the record with materials

not in the district record only if the materials were relied on in the district

court proceedings and would have been introduced into the district court

record but for inadvertent omission. Adams v. Holland, 330 F.3d 398, 406

(6th Cir. 2003) (“[t]hus, the purpose of amendment under this rule is to ensure

that the appellate record accurately reflects the record before the District

Court, not to provide this Court with new evidence not before the District

Court, even if the new evidence is substantial.”). That is clearly not what

Wright is seeking here. By his own admission, Wright seeks recognition of

matters that could have been raised in the District Court but were not.

Specifically, Wright concedes:

      This appeal in 2025 is not the same case as was presented in 2020
      or 2023. Since those earlier proceedings, I have undertaken a
      deep and sustained legal and historical study of this matter.


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[Declaration of Col. David J. Wright [Doc. 39], 4]. Even though Wright had

years to develop a proper record in the District Court, he now insists that this

matter “requires new evidence and reframing to ensure that the correct legal

framework is applied to this appeal ….” [Motion, 2]. Under FRAP 10,

however, the “new evidence” allegedly discovered by Wright is not proper

supplementation “even if the new evidence is substantial.” Adams, 330 F.3d

at 406.

      Similarly, FRE 201 allows the Court to take judicial notice of highly

undisputable facts or directly related court proceedings. That rule does not

provide a basis for Wright’s requested supplementation because it only

applies to facts that are not subject to reasonable dispute because they are

“generally known within the trial court’s territorial jurisdiction” or “can be

accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” FRE 201(b)(1) and (2). As the District Court

recognized, none of the alleged “facts” of which Wright demands this Court

take judicial notice satisfy that standard. Wright’s prior judicial notice motion

was rejected because the District Court correctly found that “the information

Wright asks the District Court to take judicial notice of is not indisputable

fact.” [8/9/23 Memorandum Opinion and Order [DE 129], PageID #3724].

Moreover, the District Court expressly held that the information did not


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qualify for judicial notice because it “is not readily determined from sources

whose accuracy cannot reasonably be questioned.” [Id. at PageID #3724-25].

Most importantly, the District Court specifically recognized that “the

purported ‘facts’ are irrelevant to the Court’s resolution of the matters before

it.” [Id. at PageID #3725].

      The “facts” which are the subject of the Motion suffer from the same

fatal flaw that doomed Wright’s judicial notice motions in the District Court.

Wright’s self-proclaimed expertise on the history of Kentucky Colonels, his

criticisms of the United States Patent and Trademark Office, and his opinions

about HOKC’s corporate status are not sources that cannot be reasonably

questioned and do not constitute “indisputable fact.” Moreover, as the District

Court recognized, this case is not about competing historical narratives. It is

about Wright attempting to hijack HOKC’s registered KENTUCKY

COLONELS Mark for personal enrichment in blatant violation of this Court’s

February 23, 2021 Agreed Permanent Injunction [DE 93] – an injunction to

which Wright himself agreed. Wright’s lecture on the law of judicial notice

and the application of judicial notice to HOKC’s history is not relevant to the

issues in this appeal. The Motion should be denied.




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         II.   THE MOTION SHOULD BE STRICKEN FROM THE
               COURT RECORD.

         Like its progeny, the Motion offers nothing more than a self-

aggrandizing mess of irrelevant gibberish solely for the purpose of harassing

HOKC and needlessly increasing the cost of litigation. A party may not

present a pleading, written motion, or other paper to the court “for any

improper purpose, such as to harass, cause unnecessary delay, or needlessly

increase cost of litigation.” Fed. R. Civ. P. 11(b)(1). Moreover, a document

can be stricken by an appellate court when it “has no possible relation to the

controversy.” United States v. Zayed, 225 F.3d 660 at *2 (6th Cir. 2000).

         The Motion was clearly filed for an improper purpose – creating a false

and inaccurate record Wright could refer to in his Sixth Circuit brief and reply

brief. In addition, by Wright’s own admission, the Motion was filed for

purposes of harassment. Wright has already filed at least fifteen (15) motions

or “notices” in this appeal seeking extraordinary relief.3 Now, he candidly

acknowledges that he intends to use the Motion to support at least seven (7)

“Proposed Future Motions” as well as other filings. [Motion, 5]. This

vexatious behavior must stop. HOKC should not be required to address the

unsupported opinions, erroneous legal analysis, and irrelevant factual


3
    See Docs. 9, 11, 17, 21, 29, and 36.


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assertions recited in the Motion or future spurious filings by Wright.

Moreover, the Motion has no relevance to the issues on appeal as none of the

matters described therein relate to the District Court’s contempt Order or the

Order awarding HOKC attorneys’ fees – the only two Orders which are the

subject of this appeal. The Motion should be stricken from the Court’s record.

                              CONCLUSION

      For the reasons set forth herein, the Motion should be denied and

stricken from the record.



                                      Respectfully submitted,

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                      CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing has been
served upon the following, by U.S. mail and/or electronic mail, on this the 7th
day of May, 2025:

 David J. Wright
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                                       /s/ Cornelius E. Coryell II

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